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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                     JUL 05 2017
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 DENISE ABBEY, individually and as             No. 15-15863
 special administrator of the Estate of
 Micah Abbey,
                                               D.C. No. 3:13-cv-00347-LRH-VPC
               Plaintiff - Appellant,          U.S. District Court for Nevada,
                                               Reno
   v.
                                               MANDATE
 CITY OF RENO; et al.,

               Defendants - Appellees,

 and

 BRAD DEMITROPOULIS and
 BOARD OF REGENTS FOR THE
 NEVADA SYSTEM OF HIGHER
 EDUCATION ON BEHALF OF THE
 UNIVERSITY OF NEVADA, RENO,

               Defendants.


        The judgment of this Court, entered May 04, 2017, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.
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                                    FOR THE COURT:

                                    MOLLY C. DWYER
                                    CLERK OF COURT

                                    By: Jessica F. Flores Poblano
                                    Deputy Clerk
                                    Ninth Circuit Rule 27-7
